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 6
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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         CASE NO. 1:14-CR-00226-DAD-BAM

12                  Plaintiff,                         UNITED STATES’ STATUS REPORT WITH
                                                       REQUEST TO RESCHEDULE HEARING ON
13          v.                                         UNITED STATES’ MOTION TO DISMISS
                                                       PETITIONERS’ ANCILLARY PETITION; ORDER
14

15   LEONOR SARABIA-RAMIREZ,

16                  Defendant.

17

18          The United States of America hereby submits the following status report with request to

19 reschedule hearing on the United States’ Motion to Dismiss Petitioners’ Ancillary Petition.

20          On October 29, 2018, the United States filed a Motion to Dismiss Petitioners’ Ancillary Petition

21 in the above-captioned case, with hearing noticed for January 7, 2019. On December 21, 2018, however,

22 the appropriations act that had been funding the Department of Justice expired and appropriations to the

23 Department lapsed. Accordingly, the Court vacated the January 7, 2019 hearing on the Motion to

24 Dismiss until Congress restored appropriations to the Department of Justice. Congress subsequently

25 passed a continuing resolution on January 25, 2019.

26          Undersigned counsel therefore respectfully requests the pending Motion to Dismiss Petitioners’

27 Ancillary Petition be rescheduled for hearing on March 25, 2019, at 10:00 a.m., or as soon thereafter as

28 the matter may be heard, in Courtroom 5 of the above-entitled Court, located at 2500 Tulare Street, in

                                                         1
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 1 Fresno, California. Undersigned counsel will promptly serve Petitioners with notice of the rescheduled

 2 hearing upon receipt of the Court’s order granting the United States’ request to reschedule hearing.

 3 Dated: January 28, 2019                                  McGREGOR W. SCOTT
                                                            United States Attorney
 4

 5                                                  By: /s/ Erin M. Sales
                                                        ERIN M. SALES
 6                                                      Assistant United States Attorney
 7
                                                    ORDER
 8
     IT IS SO ORDERED.
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10      Dated:    January 28, 2019
                                                      UNITED STATES DISTRICT JUDGE
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